Case 2:23-cv-02802-WBS-CKD Document 1-5 Filed 12/04/23 Page 1 of 4




           EXHIBIT E
From:
                       Case 2:23-cv-02802-WBS-CKD
                               Scott Love
                                                  Document 1-5 Filed 12/04/23 Page 2 of 4
Sent:                           Friday, February 10, 2023 1:05 PM
To:                              Jenny Tan
Subject:                        Re: Concern about community group event at Davis Library on February 25


I had e-mailed Darren too and he got back to me already and just asked me to keep him apprised of t he sit uation . I
know Davis Phoen ix Coa lition is aware of t he program and I've heard t hat Anoosh p lans on attending.


Scott .C.ove
Libnuy Regional Manager - West Yolo Region
Yolo County Library - Stephens-Davis Branch Library
               , Davis CA 95616
             office
             cell

Achiever I Ideation I Communication I Connectedness I Alrnnger

"We Acknowledge that we are on the traditional terrif01y and homelands ofthe Yocha Dehe Wintun Nation." For more
information, please v;sit https,·llwww.._vochadehe,org/


From: Jenny Tan                        >
Sent: Friday, February 10, 2023 8:14 AM
To: Scott Love                           >
Subject: RE: Concern about community group event at Davis Library on February 25

Thanks, I also shared with the City Manager and cc'd Darren again.

From: Scott Love                          >
Sent: Thursday, February 9, 2023 6:44 PM
To: Jenny Tan
Subject: FW: Concern about community group event at Davis Library on February 25

ICAlTTION: External email. Please verify sender before opening attachments or clicking on links.
Thought I should share this with you, to give your office a heads up too. There is a lot more background story here, too much to
w rite out, but we could have a w ild ride t hat evening.


Scott .C.ove
Library Regional Manager - West Yolo Region
Yolo County Library - Stephens-Davis Branch Library
1111 ■ 1111, Davis CA 95616
                office
                cell


Achiever I Ideation I Communication I Connectedness I Arranger



"We Acknowledge that we ore on the traditional territory and homelands of the Yocho Dehe Wintun Notion." For more
                                                                                                 Exhibit E, Page 1
                    visit https;/lwww.yochadehe.org/
information, pleaseCase    2:23-cv-02802-WBS-CKD                 Document 1-5 Filed 12/04/23 Page 3 of 4

From: Scott Love                           >
Sent: Thursday, February 9, 2023 6:14 PM
To: policeadmin@davispd.org: dpytel                                                          >
Subject: Re: Concern about community group event at Davis Library on February 25


Chief Pyte l, I realize I should've probab ly given you a heads up on th is too, so my message is be low.


Fo r add it io nal information, here is an art icle on t he group and t he ir efforts t hat appea red in t he New York
Post : https://nypost.com/2022/12/19/kirk-came ron-declares-a-w in-ove r-two-pub lic-libraries-that-denied-him-st o ry-
hours-but-caved/



                                                          Kirk Cameron declares a 'win' over two public
                                                          libraries that had denied him story hours
                                                          The public libraries are now are in communication with his publisher
                                                          about the bookings for his story hour program for kids, he said.

                                                          nypost.com




Scott .C.ove
Libnuy Regional Manager - West Yolo Region
Yolo County Library - Stephens-Davis Branch Library
               , Davis CA 95616
             o fice
             cell

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information, please v;sit https:/lwww.vochadehe.org/


From: Scott Love                          >
Sent: Thursday, February 9, 2023 6:01 PM
To: policeadmin@davispd.org <pol iceadmin@davispd .org>
Subject: Concern about community group event at Davis Library on February 25


We've had a group reserve our commun ity room for February 25, from 4-7pm, and we have concerns wit h the group
using t he room, and wit h possible commun ity protests in rega rds to t he group, as t he organizer has been quite vocal in
the social media over the last couple of months. The program is ca ll ed Brave Books Read Aloud . Brave Publishi ng is a
right wi ng, Christian children's book pub lishing company, who says t hey teach, "a differe nt pro-God, pro-America va lue"

                                                                                                        Exhibit E, Page 2
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w ith t heir books. The    2:23-cv-02802-WBS-CKD
                        o rganize                           Document
                                  r is Elizabeth "Bet h" Bourne, w ho has1-5
                                                                          beenFiled
                                                                               t rying12/04/23    Pagerans
                                                                                       to get an anti-t 4 ofbook
                                                                                                             4 added to all of
the DJUSD school libraries, and was recent ly posting complain ing about a tra ns documentary t hat a club at Davis Se nior
H. S. was showing. Brave has posted on t heir website t he program, w hich may draw more like-mi nded individuals t o the
program. We have let t hem know our policies with the room, and as long as t hey fol low t hem t he program wi ll happen .
They have yet t o pay for t he use (food, af ter hou rs use, and use of t he AV syst em), so t he event cou ld be canceled if
they don't pay by Friday, Feb.10 .


We do have concerns t hat t he group could violate pa rameters by sel ling books or advertisi ng t he publishi ng company.
Additional ly, because of her posts, we expect t o get a numbe r of people attendi ng t he program w hose be liefs are
opposite of t heirs. Add itionally, immed iat ely proceeding t his program, we have a Li brary orga nized event wit h a Black
autho r and Illust rator, and t he re could be pot entia l for some disruption of t hat eve nt.


The library closes t hat evening at 5 :30, so t he group wi ll be in the room past closing. I intend to st ay t o t ry and keep
everyth ing in order, but we wanted you all to know, and we wou ld like you t o give dispat ch and officers on duty t hat
night, in case a sit uation arises where we need t o ca ll you.


I wil l keep you updat ed on t he st atus of t he eve nt, and let you know if anyth ing changes .


Thanks,

Scott .C.ove
Libnuy Regional Manager - West Yolo Region
Yolo County Library - Stephens-Davis Branch Library
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